Case 2:23-cv-00599-AMA-CMR        Document 105       Filed 01/24/25    PageID.703     Page 1
                                         of 4




 Terry E. Welch (5819) (twelch@parrbrown.com)
 Bentley J. Tolk (6665) (btolk@parrbrown.com)
 Rodger M. Burge (8582) (rburge@parrbrown.com)
 C. Chase Wilde (17546) (cwilde@parrbrown.com)
 PARR BROWN GEE & LOVELESS
 101 South 200 East, Suite 700
 Salt Lake City, Utah 84111
 Telephone: (801) 532-7840
 Facsimile: (801) 532-7750

 Attorneys for Defendants Kevin Long
 and Millcreek Commercial Properties, LLC


                       IN THE UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  CHRIS WILSON,                                      MOTION TO WITHDRAW AS
                                                     COUNSEL FOR DEFENDANT
                Plaintiff,                           MILLCREEK COMMERCIAL
                                                         PROPERTIES, LLC
  v.

  KEVIN LONG; MILLCREEK                            Case No. 2:23-CV-00599-AMA-CMR
  COMMERICAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; ANDREW                 FILED UNDER SEAL PURSUANT TO
  BELL; KRISTIAN HUFF; TREVOR                        COURT ORDERS (DOCKET
  WEBER; SPENCER TAYLOR; BLAKE                           NOS. 38 AND 57)
  MCDOUGAL; SCOTT RUTHERFORD;
  EQUITY SUMMIT GROUP, P.C.;                       District Judge Ann Marie McIff Allen
  ELEVATED 1031; and MARY STREET,
                                                    Magistrate Judge Cecilia M. Romero
                Defendants.

        Pursuant to DUCivR 83-1.4, Terry E. Welch, Bentley J. Tolk, Rodger M. Burge, and

 Christian Chase Wilde of the law firm Parr Brown Gee and Loveless hereby individually and

 collectively move the Court for leave for each of them to withdraw as counsel for Defendant
Case 2:23-cv-00599-AMA-CMR             Document 105        Filed 01/24/25       PageID.704      Page 2
                                              of 4




 Millcreek Commercial Properties, LLC (“Millcreek”) (but not for Defendant Kevin Long) in the

 above-captioned action. Withdrawal is necessary because Millcreek has ceased operations.

          Millcreek’s last-known contact information is as follows:

          Millcreek Commercial, LLC
          1064 S. North County Blvd., Suite 350
          Pleasant Grove, UT 84062
          kevin@millcreekcommercial.com
          (385) 248-0613

          Millcreek consents to the withdrawal.

          Plaintiff Chris Wilson’s March 21, 2024 Motion to                                   and for

 Attorney Fees (Dkt. 30) (the “Motion”) is pending in this case, but the Court has orally ruled that

 the Motion is denied without prejudice and with leave to file an amended version of the Motion

 (as will be more specifically set forth in a written order from the Court). No hearings are currently

 scheduled in this case, and the case has effectively been stayed due to the Motion. A scheduling

 order has not been entered, and no fact discovery has occurred in this case.

          The undersigned attorneys hereby certify that this Motion is being filed with the Court and

 thereby served on all parties, and that a copy of this Motion is also concurrently being served on

 Millcreek by email and by certified mail via the U.S. Postal Service at the addresses listed above.

          A copy of a proposed order is attached hereto as Exhibit A.



           DATED this 24th day of January, 2025




 4933-2463-1826                                    2
Case 2:23-cv-00599-AMA-CMR   Document 105     Filed 01/24/25   PageID.705   Page 3
                                    of 4




                                   PARR BROWN GEE & LOVELESS

                                   By: /s/ Terry E. Welch
                                      Terry E. Welch

                                   By: /s/ Bentley J. Tolk
                                      Bentley J. Tolk

                                   By: /s/ Rodger M. Burge
                                      Rodger M. Burge

                                   By: /s/ C. Chase Wilde
                                      C. Chase Wilde

                                   Attorneys for Kevin Long and Millcreek
                                   Commercial Properties, LLC




 4933-2463-1826                       3
Case 2:23-cv-00599-AMA-CMR           Document 105       Filed 01/24/25      PageID.706    Page 4
                                            of 4




                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 24th day of January, 2025, I caused to be served a true

 and correct copy of the foregoing MOTION TO WITHDRAW AS COUNSEL FOR

 DEFENDANT MILLCREEK COMMERCIAL PROPERTIES, LLC via the CM/ECF

 system, which automatically provided notice to all counsel of record.


                                                                    /s/ Bentley J. Tolk




 4933-2463-1826                                  4
